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  DEBTOR:                                                                              CASE NUMBER:
                          OFFICE OF THE UNITED STATES TRUSTEE
                          DISTRICT OF MARYLAND
                          MONTHLY OPERATING REPORT - CHAPTER 11                                    Check if this is an
                          INDIVIDUAL DEBTORS                                                       amended report.
                    COVER SHEET AND QUESTIONNAIRE - FORM 3
                              For Period from:                                    to

          THIS REPORT MUST BE FILED WITH THE COURT 20 DAYS AFTER THE END OF THE MONTH
  Debtor must attach each of the following reports / documents unless the U. S. Trustee has waived the requirement in writing.

                                       REQUIRED REPORTS / DOCUMENTS
                                     1 Cash Flow Statement (Page 2)
                                     2 Cash Reconciliation(s) and Narrative (Page 3)
                                     3 Cash Receipts Detail (Page 4)
                                     4 Cash Disbursements Detail (Page 5)
                                     5 Receipts and Disbursements Recap Case to Date (Page 6)
                                     6 Bank Statements for All Bank Accounts open during any day during the period
                                          (remember to redact all but the last four digits of bank account number)

                                 QUESTIONNAIRE                                                          Yes                      No
  Please answer the questions below for the month being reported:
  1. Did you deposit all receipts into your DIP account this month?
  1a. If no, explain.

  2. Are all insurance policies current and in effect?
  2a. If no, explain.**

  3. Have all post petition taxes been timely filed and paid, including quarterly
      estimated taxes, if applicable?
  3a. If no, explain.**

  4. Did you pay all your bills on time this month?

  5. Did you borrow money from anyone or has anyone made any payments on
       your behalf?
   5a. If yes, why?**

  6. Other than postpetition mortgage or car payments, did you pay any bills
        you owed prior to filing for bankruptcy?

  7. Do you have any bank accounts open other than the DIP account?
  7a. If yes, when will they be closed?
  **If additional room is needed, please use the "Unusual Items" Section on page 3 to explain.

  I declare under penalty of perjury that this Monthly Operating Report, and any statements and
  attachments are true, accurate and correct to the best of my belief.
  Executed on:                                    Signature (Debtor):                  s/ Erik B. Cherdak
                                                  Print name:

                                                  Signature (Co-Debtor, if one):
                                                  Print name:
                                                                                                                                 PAGE 1
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Individual MOR 2016-11 (blank).xlsx
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DEBTOR:            Erik Cherdak                                               CASE NUMBER:             16-25927-TJC

  For Period from:       11/01/2017                        to        11/30/2017

CASH FLOW SUMMARY (SEE NOTE A)
(Transfers between the debtor's bank accounts are not to be reflected on this page.)
1. Beginning Cash Balance                                                                          $                         (1) A
2. Cash Receipts
       Wages                                                    $
       Sole Proprietorship Revenues                                   N/A
       Draws from owned entities other than Sole Prop
       Rental Income
       Other
       Other
       Total Cash Receipts for the month                                                           $                            B
3. Cash Disbursements
       Primary residence: Rent or home mortgage payment $
       Utilities and Communication related Expenses
       Home maintenance (repairs/upkeep/association dues)
       Food / Groceries / Housekeeping supplies
       Restaurants/Entertainment/Recreation
       Clothing / Laundry / Personal Care
       Charitable and Religious Contributions
       Insurance payments
       Installment payments (including car payments)
       Alimony, maintenance, support of others
       Legal / Professional Fees / U.S. Trustee Fees
       Sole Proprietorship Expenses
       Rental Property related: mortgages / expenses / repairs
       Other
       Other
       Other
       Other
       Miscellaneous

       Total Cash Disbursements for the month                                                      $          37,014.27         C

4. Net Cash Flow for Month
     (Total Cash Receipts less Total Cash Disbursements)                                 (B - C)                                D
5. Ending Cash Balance                                                                   (A + D) $                              E

    CALCULATION OF DISBURSEMENTS FOR UNITED STATES TRUSTEE QUARTERLY FEES
Total Disbursements for the Month (from above)                                                                37,014.27
Add: Any amounts paid on behalf of the debtor by others
Disbursements for U.S. Trustee Fee Calculation                                                                37,014.27
(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.                       PAGE 2
(1) Current month beginning cash balance should equal the previous month's ending balance.                    Rev. 2016-11
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   DEBTOR:          Erik Cherdak                                               Case Number: 16-25927-TJC


A. BANK ACCOUNTS THAT ARE OPEN AT END OF THE PERIOD

   Period ending:                11/30/2017                     Acct #1          Acct #2        Acct #3        Acct #4

   Name of Bank:

   Last four digits of account

   Purpose of Acct (Personal or Business)

   Type of account (Checking or Savings)

   Balance per Bank Statement at End of the Period

   TOTAL OF ALL ACCOUNTS AT END OF PERIOD
   Note: Attach a copy of the bank statement and bank reconciliation for every account that was open during
   any point in time during the period, whether it is a prepetition account or a DIP account.



B. AMOUNTS OWED TO OTHERS at the end of the Period (post-petition only)

   Do you have any past due post petition bills?                          No                           Yes       ✔
   If yes, how much do you owe? (please attach support)                                                   $




C. AMOUNTS OWED TO YOU at the end of the Period (both pre and post-petition)

   Does anyone owe you any money?                                         No                           Yes       ✔
   If yes, how much is owed to you? (please attach support)                                               $


In excess of several million dollars from Fitistics, LLC.


D. UNUSUAL ITEMS
   Please provide a description of any unusual financial transactions or changes to your financial condition since the
   past reporting period.

   See Ex B




                                                                                                                  PAGE 3
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     DEBTOR:      Erik Cherdak                                              CASE #:          16-25927-TJC

                                                                   The term "cash" includes all forms
                      CASH RECEIPTS DETAIL                         of currency i.e., checks, cash,
                                                                   money orders, etc.

                     For Period:     11/01/2017 to 11/30/2017
                     (attach additional sheets as necessary)

     Bank Name                                          Last four digits of account number



A.   For each counter deposit made during the period, record the following information:

         Date                    Payer                            Description                    Amount




                                                                                                           0

B.   For direct deposits to your account which identify the source of the deposit,
     just record the grand total of all of these deposits.


C.   Deduct transfers between accounts made to this account included in
     Section A or B above.

                                                     Total Cash Receipts                     $
                                                     This total should agree with Page 2

                                                                                                    PAGE 4
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DEBTOR:           Erik Cherdak                                                  CASE #:                 16-25927-TJC


                                                                                The term "cash" includes all forms
                     CASH DISBURSEMENTS DETAIL                                  of currency i.e., checks, cash,
                                                                                money orders, etc.

                     For Period: 11/01/2017 to 11/30/2017
                     (attach additional sheets as necessary)

     Bank Name                                                     Last four digits of account number



A.   For all checks written , record the detail of each showing the following information:
         Date        Check No.              Payee                      Description (Purpose)                 Amount




                                                                                                                       0



B.   For direct debits to your account which identify the who is being paid, just record
     the grand total of all of these withdrawals


C.   Deduct transfers between accounts made to this account included in
     Section A or B above.                                                                                             0

                                                              Total Cash Disbursements                  $              0
                                                              This total should agree with Page 2

                                                                                                                 PAGE 5
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                           RECEIPTS AND DISBURSEMENTS RECAP
Debtor:                    Erik Cherdak                                                 Case #:       16-25927-TJC
Date Case was filed:

        This form is to be used to record Monthly Operating Reports' Receipts and Disbursements filed to date.
        It serves as a running total of overall cash receipts and cash disbursement and net income (or loss) for the case.

        NOTE: These amounts are directly obtained from Page 2 of the associated MOR.

        Year: 2017                                                  Year:
          Receipts             Disb               Net                Receipts-2           Disb-2             Net-2

                                                           0                                                           0
Jan

                31,614           24,936              6,678                                                             0
Feb

            28,866.18            21,057              7,809                                                             0
Mar

                30,967           37,590             -6,623                                                              0
Apr

            31,925.95            42,899            -10,973                                                              0
May

                51,651           46,655              4,996                                                             0
Jun

                31,167           31,701                 -535                                                           0
Jul

            24,714.40        19,657.37           5,057.03                                                              0
Aug

            15,786.80          5,803.67          9,983.13                                                              0
Sep

              1,275.01       26,711.66         -25,436.65                                                              0
Oct

            37,183.06        37,014.27              168.79                                                             0
Nov

                                                           0                                                           0
Dec




                       0                0                  0                        0                0                 0
TOTAL
                                                                                                                PAGE 6
                                                                                                             Rev. 2016-11
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                              Exhibit A - Bank Balances

                                                                Acct 1          Acct 2
Name of Bank                                                     M&T             M&T
Last Four digits of Account                                      2851            2455
Holders                                Erik Cherdak and Lauren Cottone    Erik Cherdak
Type of Account                                               Checking        Checking
Balance at end of period                                     1,321.92        3,685.47
Total:                                                                      5,007.39
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                                              Exhibit B
Unusual Items

   −   DIP account has no debit card, joint account used
   −   Debtor is trying to open a new DIP account with direct debit card privileges at a different bank.
       The current bank has made too many errors and he is therefore switching to a different banking
       institution. The banking errors were due to 10 day holds placed by M&T in DIP account. Security
       alerts caused by incorrect transactions triggered bank holds and security transactions. Third
       party inquires on bank caused security alerts and controls. Bank transactions triggered by
       security controls and imposed by bank. Will be reflected and corrected in December MOR.
   −   The paycheck amount listed for November is incorrect and will be corrected on the December
       MOR.
   −   The Reimbursement listed in the income section is a partial reimbursement from a real estate
       transaction. The final amount is expected to be received in December 2017.
   −   Medical co-payments from surgeries in 2017 are almost completed.
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                              Exhibit C - Cash Receipts

Date         Amount     Method     Notes/ Payee                            Account
   11/6/2017 $33,000.00 Deposit    Paycheck                                M&T 2455
  11/27/2017 $4,183.00 Deposit     Reimbursement from Realestate Company   M&T 2455
  11/16/2017      $0.06 Deposit    Interest Payment                        M&T 2851
Total        $37,183.06
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                                         Exhibit D - Cash Dibursements

Date       Amount          Method            Classification               Notes/ Payee                    Account
 11/1/2017          $39.43 debit             Home Maintenance             Cost Plus Wld                       2851
 11/1/2017        $158.99 debit              Home Maintenance             UBREAKIFIX                          2851
 11/1/2017          158.99 debit             Home Maintenance             UBREAKIFIX                          2851
 11/1/2017        $125.20 debit              Groceries                    Giant                               2851
 11/1/2017          $36.84 debit             Housekeeping Supplies        Michaels                            2851
 11/2/2017          $87.15 debit             Housekeeping Supplies        Party City                          2851
 11/2/2017        $250.00 debit              Miscellaneous                Lewis Jerry's Hauling Dundalk       2851
 11/2/2017          $46.00 debit             Miscellaneous                CollegeBoard SAT                    2851
 11/3/2017          $46.00 debit             Miscellaneous                ACT Programs                        2851
 11/3/2017          $84.95 debit             Laundry                      Perfectly Pressed                   2851
 11/3/2017          $30.00 debit             Medical                      Childrens Pediatric                 2851
 11/3/2017          $60.00 debit             Communication                AT&T                                2851
 11/3/2017          $60.00 debit             Communication                AT&T                                2851
 11/6/2017          $29.68 debit             Restaurant / Entertainment   Noodles & Co                        2851
 11/6/2017        $105.90 debit              Miscellaneous                Banfield - Pet                      2851
 11/7/2017          $30.00 debit             Medical                      Childrens Pediatric                 2851
 11/8/2017          $15.00 debit             Medical                      Childrens Pediatric                 2851
 11/8/2017      $10,000.00 Check #0055       Miscellaneous                Bank Error                          2851
 11/9/2017          $78.65 debit             Medical                      CVS Pharmacy                        2851
 11/9/2017          $30.21 debit             Restaurant / Entertainment   Noodles & Co                        2851
 11/9/2017          $59.99 debit             Communication                Microsoft Xbox                      2851
11/13/2017          $10.00 debit             Communication                Direct TV                           2851
11/13/2017        $672.95 debit              Miscellaneous                I Drive Smart, Inc                  2851
11/13/2017          $23.85 debit             Restaurant / Entertainment   Noodles & Co                        2851
11/13/2017           $6.63 debit             Restaurant / Entertainment   Noodles & Co                        2851
11/13/2017          $75.77 debit             Restaurant / Entertainment   Good Fortune Café                   2851
11/14/2017          $20.00 debit             Groceries                    Instacart                           2851
11/14/2017        $516.47 debit              Groceries                    Instacart                           2851
11/16/2017           $0.99 debit             Communication                Apple Itunes                        2851
11/16/2017        $170.97 debit              Home Maintenance             Lowes                               2851
11/16/2017        $200.00 debit              Miscellaneous                American Express                    2851
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11/17/2017     $206.00    debit             Medical                      Frederick S Fritz DDS                2851
11/17/2017       $66.17   debit             Transportation               Sunoco                               2851
11/17/2017     $500.00    ATM Withdrawal    Miscellaneous                Living Expenses                      2851
11/20/2017       $28.70   debit             Restaurant / Entertainment   California Tortilla                  2851
11/20/2017        $2.99   debit             Communication                Apple Itunes                         2851
11/20/2017        $0.99   debit             Communication                Apple Itunes                         2851
11/20/2017       $13.82   debit             Transportation               Uber                                 2851
11/20/2017       $49.50   debit             Transportation               Sunoco                               2851
11/20/2017       $11.30   debit             Transportation               Uber                                 2851
11/20/2017       $35.98   debit             Housekeeping Supplies        Bed Bath & Beyond                    2851
11/20/2017       $22.80   debit             Transportation               Uber                                 2851
11/20/2017       $20.84   debit             Transportation               Uber                                 2851
11/20/2017       $36.65   debit             Restaurant / Entertainment   California Tortilla                  2851
11/20/2017       $16.95   debit             Communication                J2 Efax Services                     2851
11/21/2017       $11.49   debit             Transportation               Uber                                 2851
11/22/2017     $124.84    debit             Restaurant / Entertainment   Firebirds of Gaithersburg            2851
11/24/2017     $420.00    debit             Miscellaneous                Greet Dot Bank - business expenses   2851
11/24/2017     $506.48    debit             Groceries                    Giant                                2851
11/24/2017       $18.08   debit             Transportation               Uber                                 2851
11/27/2017     $159.00    debit             Personal Care                Tiffany & Co.                        2851
11/27/2017     $159.00    debit             Personal Care                Tiffany & Co.                        2851
11/27/2017       $28.82   debit             Transportation               Uber                                 2851
11/27/2017    $1,000.00   debit             Home Maintenance             Handyman Services                    2851
11/27/2017   $40,000.00   debit             Miscellaneous                Check #0055 - Bank Error             2851
11/28/2017       $90.00   debit             Utilities                    Washington Gas                       2851
11/28/2017     $137.43    debit             Utilities                    WSSC Water Sewer                     2851
11/28/2017        $9.99   debit             Miscellaneous                Dropbox                              2851
11/28/2017     $337.43    debit             Utilities                    WSSC Water Sewer                     2851
11/30/2017       $41.04   debit             Restaurant / Entertainment   California Tortilla                  2851
11/30/2017       $47.00   debit             Personal Care                StowAway Cosmetics                   2851
11/30/2017       $24.99   debit             Miscellaneous                Experican Credit Report              2851
11/30/2017     $455.40    debit             Home Maintenance             Lowes                                2851
11/30/2017     $156.64    debit             Personal Care                Salon Red Gaithersburg               2851
11/30/2017       $44.97   debit             Restaurant / Entertainment   McDonald's Gaithersburg              2851
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 11/1/2017      $100.00    debit            Medical                    Check #9301                  2455
 11/3/2017     $1,500.00   debit            Legal                      Check #1027                  2455
 11/6/2017      $500.00    debit            Housekeeping Supplies      Capital One Online Payment   2455
 11/6/2017      $440.00    debit            Medical                    Check #1028                  2455
 11/7/2017      $500.00    debit            Medical                    Check #0055                  2455
 11/7/2017     $1,144.13   debit            Medical                    Check #1053                  2455
 11/7/2017        $50.00   debit            Medical                    Check #9337                  2455
 11/9/2017      $221.92    debit            Communication              Verizon                      2455
11/13/2017        $12.00   debit            Miscellaneous              school charge function       2455
11/17/2017      $133.02    debit            Taxes                      Comp of Maryland             2455
11/20/2017     $3,910.00   debit            Mortgage Payment           Check #1029                  2455
11/22/2017        $38.50   debit            Miscellaneous              Insufficient Funds Fee       2455
11/22/2017        $38.50   debit            Miscellaneous              Insufficient Funds Fee       2455
11/24/2017         $9.90   debit            Utilities                  BGE                          2455
11/28/2017        $30.00   debit            Medical                                                 2455
11/28/2017      $100.00    debit            Medical                                                 2455
11/28/2017      $100.00    debit            Medical                                                 2455
11/28/2017      $150.00    debit            Medical                                                 2455
11/29/2017         $7.92   debit            Utilities                  Washington Gas               2455
11/29/2017      $100.00    debit            Medical                                                 2455
11/29/2017      $288.92    debit            Utilities                  Potomac Electric             2455
11/29/2017        $99.06   debit            Medical                    Check #1119                  2455
11/17/2017   -$30,475.50   credit           Miscellaneous              Bank error                   2455
              $37,014.27
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